       Case 2:14-cv-02207-JTM-JPO Document 48 Filed 10/21/14 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS


ERIC M. MUATHE,
                                                     JUDGMENT IN A CIVIL CASE
                      Plaintiff,

v.

FIFTH THIRD BANK, et al.,                            Case Number: 14-2207-JTM


                      Defendants.




       IT IS ORDERED AND ADJUDGED in accordance with the Memorandum and Order
filed October 21, 2014, that plaintiff’s Motions for Leave to file Surreply (Dkt. Nos. 39, 40, 41)
are denied and his complaint is dismissed.




                                                     TIMOTHY M. O’BRIEN, Clerk of Court
October 21, 2014
Date

                                                     By     s/ S. Smith
                                                             Deputy Clerk
